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 Counsel for UBS Securities LLC and UBS
 AG London Branch

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
------------------------------------------------------------
In re                                                        § Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                          Case No. 19-34054-SGJ11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
LONDON BRANCH,                                               §
                                                             § No. 21-03020-sgj
                                    Plaintiffs,              §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                                  NOTICE OF DEPOSITION

       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure made applicable to this proceeding by Rule 7030 of the Federal Rules of Bankruptcy

Procedure, Plaintiffs UBS Securities LLC and UBS AG London Branch (together, “UBS”) shall

take the deposition of Mary Katherine Lucas (f/k/a Katie Irving) in connection with the above-

captioned adversary proceeding against Highland Capital Management, L.P. on November 15,

2021, beginning at 10:00 a.m. Central Time and continuing, if necessary, on November 16, 2021,

at 10:00 a.m. Central Time, or at such other day and time as counsel for UBS, counsel for the

Debtor, and counsel for Ms. Lucas agree. The deposition questioning on November 15, 2021 will

take place at the offices of Baker & McKenzie LLP, 1900 N. Pearl Street, Suite 1500, Dallas,

Texas 75201. The deposition will be videotaped and made available for concurrent remote

participation via on online platform.

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Dated: October 27, 2021                    Respectfully submitted,

                                           /s/ Sarah Tomkowiak

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                                CERTIFICATE OF SERVICE

       I, Martin Sosland, certify that the foregoing Notice of Deposition was filed electronically

through the Court’s ECF system and served electronically on all parties enlisted to receive service

electronically.

       Dated: October 27, 2021.

                                                     /s/ Martin Sosland
                                                     Martin Sosland
